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Attomeys for Defendants and Counterclaimant
9 VIEWTECH, INC.

10
UNI'I`EI) STATES DISTRICT COUR'I`
ii
SOUTHERN DISTRICT OF CALIF()RNIA

12

ECHOSTAR SATELLITE, L.L.C., a CASE NO. 07 CV 1273 W (AJB)
13 Colorado limited Liabi§ity Company,

ECHOSTAR TECHNOLOGIES

14 CORPORATION, a Texas Corporati<)n,
and NAGRASTAR, L.L.C., a Cofc)rado
;5 Limited Liabiiity Company,

16 Plaintiffs, COUNTERCLAIM FOR DAMAGES
AND I}EMANI) FOR JURY '.{‘RIAL
17 V.

13 VIEWTECH, INC., a California

Cc)rporation, IUNG I<.WAK, an
19 ludividual, and DOES 1 - 10.,

20 .[)efendants.

 

 

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l VIEWT};CH, INC., a California

Corporation,
2
Counterelaiinant,
3 Before the Honorable
v. United States District Judge
4 Thornas J. Whelan

ECHOSTAR SATELLITE, L.L.C., a

5 Colorado limited inability Cornpany
now known as DISH NETWORK, LLC',
6 ECHOSTAR TECHNOLOGIES
CORPORATION, a 'I"exas Corporation
7 now known as ECHOSTAR
TECHNOLOGIES, LLC; and

8 NAGRASTAR, L.L.C., a Colorado
Limited liability Cornpany,

 

 

9
Co'unterdet`endants.
l()
11 Defendant and Connterclairnant, Viewteeh, ine., a California Corporation

12 (hereinafter sometimes referred to as, “Viewtech”), for its Connterclairn and for its claims
13 for relief against Plaintift`s and Counterdefendants, Echostar Satellite, L.L.C., a Colorado
1a Limited Liability Company now known as DISH Network, LLC; Echostar Technologies
15 Corporation, a Texas Corporation now known as Echostar Technologies, LLC; and

16 Nagrasta_r, L.L.C., a Colorado Limited Liability Cornpany, respectfully states and alleges

17 as follows, and demands a trial by jury on all issues triable to a jury

18 I.
19 PARTIES
20 l. Defendant and Counterclaimant, Viewtech, Inc., ("Viewtech") is a

21 corporation lawfully forrned, organized and in good standing under the laws of the State
22 of California, and having its principal place of business located in Oceanside, California,
23 Within this judicial district

24 2. Viewtech is informed and believes, and thereon alleges, that

25 Counterdefendant Echostar, LLC, is a limited liability company now known as DISH

26 Network, LLC, and is an indirect Wholly-owned subsidiary of DISH Networl<

27 Corporation, formerly known as }Echostar Cominunications Corporation.

23 3. Viewtech is also informed and believes, and thereon alleges, that

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Counterdefendant Echostar Teclinologies Corporation is a Texas corporation now known
as Echostar ’l`eclinologies, LLC, and is an indirect wholly-owned subsidiary of Echostar
Corporation, formerly known as Ecliostar Holdings Corporation.

4. Viewtech is also informed and believes, and thereon alleges, that
Counterdefendant i\lagrastar, LLC, is a Colorado limited liability company equally owned
by Echostar Corporation and Kudelsl<i, S.A., a Swiss corporation

II.

JURIS})ICTION AND VENUE
5. This Counterclaim is brought pursuant to 15 U.S.C. §§1, 2, 14 and 15 for

violations of the antitrust laws of the United States. Tlie jurisdiction ot` this Court is
founded on those sections and on 28 U.S.C. §133 1, which provides this court With original
jurisdiction over actions arising under the laws of the United States, and 28 U.S.C. §1337,
which provides this Court with original jurisdiction over any action arising under federal
laws regulating commerce or protecting commerce against restraints and monopolies
'l`his Court has supplemental jurisdiction over the state claims pursuant to 28 U.S.C.
§136'7.

6a Personal jurisdiction and venue are proper in this Court because Defendant
and Counterclairnant, Viewtech, lnc., resides Within this judicial district, and Plaintiffs
and Counterdefendants are found and have submitted to personal jurisdiction and venue
here by filing their Complaint in this judicial district

III.
FACTS COMMON 'I`O ALL CLAIl\/IS FOR RELIEF

7. Viewtecli realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 6 of this Counterclaim, as though fully set forth

8. Vievvtech is primarily involved currently in the business of contracting for
the manufacture of free~to~air receivers in Korea, importing the receivers into the United
States, and then selling the receivers to authorized distributors and dealers of Viewtech

products located throughout the United States and Canada.

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9. Free-to-air receivers are devices that can receive “free-to-air” satellite
television and radio signals, which are not scrambled or encrypted. Free»~to-air channels,
as their description suggests, are offered free of charge to those who have appropriate
receiver devices to capture and play them.

10. Along with the advent and improvement of satellite technology and radio
and television broadcasting free-to-air receivers have become increasingly popular with
consumers

11. Viewtech is informed and believes, and thereon alleges, that there are
several dozen free-to-air satellites currently available and in use within the United States,
and several dozen more currently available and in use worldwide, all of which broadcast
thousands of free~to»air channels, both television and radio.

12. Viewtech is further informed and believes, and thereon alleges, that free-to-
air satellite receivers offer channels and services which are not available on cable or pay
for view over~the-air broadcasts, like those offered by Counterdefendants and their other
competitors such as DirecTV, and that free~to-air channels and services often include
specialty ethnic, local entertainment, business, information, news and religious
programming

l3. Free-to-air receivers and their associated programming are particularly
common in foreign countries, whose residents are often limited to using free~to-air
receivers because they cannot afford or do not even have access to pay-for-view cable or
over-the-air broadcasts, and they are becoming increasingly popular in the United States
among senior citizens, recent immigrants, and other special interest groups for those same
reasons

14. Free-to-air receivers are also the only commercially available option to
specialty consumers who desire to broadcast audio and/or visual performances or events
to the general public, particular consumers or member associations For example a
symphony in Portland solicited Viewtech recently to purchase its free-to~air receivers in

order to broadcast their symphony program to selected orchestra audiences In addition,

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programming such as religious services and ethnic specialty programming serving recent
immigrant communities are also uniquely benefited from free-to-air broadcasts because
pay~for-view operators do not carry such programming or surreptitiously charge for it.

15. Thus, Viewtech’s business nitch serves to support, protect and grow
otherwise unserved markets for free-to-air satellite transmission and broadcasting

16. Indeed, Counterdefendants themselves also promote and sell free-to-air
receivers throughout the world and primarily in Europe. Echostar itself touts that “lt has
been part of the development of digital television since the beginning and in Europe we’ve
sold millions of receivers for both free-to-air markets and to pay television operators.”
(See, attached Exhibit “l .”) Echostar currently promotes at least fourteen (l4) different
models of free-to-air receivers, and for each of these models, Echostar provides that the
iirniware/software for those free~to~air receivers is available for installation from its
website. (See, attached Exhihit “2.”)

17. As Counterdefendants have alleged in their Complaint, hackers have
apparently reverse engineered the ECHOSTAR Access Card, and thereby have been able
to descrarnble DlSll network programming and receive the programming through “pirate”
firmware/software installed in free-to-air receivers, without having to subscribe and pay
Counterdefendants for the DISH network channels and shows.

18. Viewtech does not create, construct, manufacture, install, service or support
these pirated devices

l9. No Viewtech free»to-air receiver, nor any other Viewtech product, is sold by
Viewtech for the purpose of pirating any satellite signal nor with the ability to pirate any
satellite signal, including those satellite signals sent by Plaintiffs and Connterdefendants.

20. The factory-installed Viewtech firmware/software in its receivers is
designed and manufactured for several legitimate and commercially significant purposes
inherent in the operation of all free~to~air receivers, including those made by Plaintit`fs and
Counterdefendants. F or example, there are occasional “bugs” in Viewtech’s receivers

which must be remedied, and the original tirrnware/software can be so corrected directly

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from Viewtech’s website. ln addition, Viewtech is constantly innovating, and adding
improvements and additional features to its firmware/software, which its end users can
likewise access and upgrade through Viewtech’s website. These Internet connections are
typical and common practices utilized also, as previously stated, by Plaintiffs and
Counterdet`endants themselves for many of their own free-to~air receivers (See, attached
Exhibit “3.”) Their remaining units can be updated or upgraded “over-the-air” by
Echostar since it controls the programming from its own satellite Since Viewtech has no
satellites, its only Internet option is to service its receivers through its websitc.

21. l\/loreover, Viewtech does not promote or condone satellite piracy devices
Viewtech’s product warranty is expressly voided if its factory-installed iirmware/software
is modified or replaced with third-party pirate linnware/software. (See, attached Exhibit
“4.”) Viewtech specifically warns its customers that any such product may be seized and
used as evidence in a subsequent legal action against the user. (I_d.) Customer service
representatives for Viewtech warn consumers that they will not assist in troubleshooting
the product if third party pirate firinware/software has been installed (_l__d_.) if Viewtech
receives one of its units for repai'r, which has been improperly modified with third party
pirate firinware/software, the unit will be flashed and the corrupt third-party pirate
tirmware/software destroyed €§d_)

22. Furthermore, Viewtech continuously publishes routine admonitions on its
webpage that Viewtech does not provide or condone the use of third party pirate
firmware/software, that Viewtech receivers are designed and intended solely for legal use,
and that Viewtech will refuse to sell to anyone whom it believes intends to use the product
illegally (See, attached Exhibit “5.”) Viewtech also admonishes its distributors
accordingly, and Viewtech’s current agreements with its distributors require that the
distributors must not modify, assist in modifying Viewtech products with third party
software, or sell the products with third party software in them, and that breach of those
agreements may be cause for immediate cancellation by Viewtech of the distributorship
(See, attached Exhibit “6.”)

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IV.
COUNTERDEFENDANTS’ WRONGFUL CONDUCT

23. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 22 of this Counterclaim, as though fully set forth.

24. Viewtech is informed and believes, and thereon alleges, that
Counterdefendants are direct horizontal competitors of Viewtech in the same market of
manufacturing distributing selling and servicing set-top boxes designed to receive
satellite programming and also in the submarket of manufacturing distributing, selling
and servicing free-to~air satellite receivers

25. Viewtech is also informed and believes, and thereon alleges that Viewtech
and Counterdefendants share a number of common distributors/dealers who sell both
Viewtech free~to~air satellite products and Counterdefendants’ pay-for~view Satellite
products

26. Viewtech is further informed and believes, and thereon alleges, that
Counterdefendants have intentionally, maliciously and wrongfully warned their
dealer/distributors including those they share with Viewtech, to not sell free-to-air
satellite equipment, including Viewtech’s receivers, and that they will face disciplinary
action if they fail to comply. (See, attached Exhibit “7.”)

27. l\/loreover, Counterdet`endants intentionally, maliciously and wrongfully sent
written letters to most of Viewtech’s distributors/dealers including their largest accounts,
falsely accusing Viewtech of alleged acts of wrongdoing in connection with the
aforementioned pirate third-party software/iirmware, disparaging Viewtech and
attempting to discourage those distributor/dealers from continuing to do business with
Viewtech and discouraging their customers from doing business with Viewtech, and
improperly foisting alleged “evidence preservation” obligations on innocent third parties
whose documents had not even then been subpoenaed all for the purpose of dissuading

them and their customers from doing business with Viewtech. (See, attached Exhibit
BGB’$$)

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1 28. Counterdefendants have also engaged in anticompetitive conduct in that
2 they have filed suit against thousands of free-to-air receiver competitors, distributors and
3 consumers, making the same false allegations that are made in this case, all in an attempt

to force out the free»-to-air receiver competition Most named defendants in the multitude

4
5 of cases that Counterdefendants have tiled, are small internet business companies or
6 consumers who do not have the financial capability of defending themselves in court
7 Therefore, Counterdefendants have obtained default judgments on a large percentage of
8 these cases and many of these defendants are no longer in business, even though they sold
9 or used similar, and legal, free-to-air receivers as Counterdefendants sell still today.

10 29. Furthermore, Counterdefendants have also filed and pursued their

11 Complaint in this case for the improper purpose of attempting to drive Viewtech, and
12 other competitors out ot` business, and their baseless and false allegations in that regard

13 fall within the “sharn litigation” exemption from Noe_rr-Pennington immunity

 

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15 FIRS'{` CLAIM FOR RELIEF

16 (For Violations of the Clayton Act)

17 30. Viewtech realleges and incorporates herein by this reference the allegations

18 in paragraph numbers l through 29 of this Counterclaim, as though fully set forth.

19 3 l. Viewtech is informed and believes, and thereon alleges, that

29 Counterdei`endants have engaged in anticompetitive conduct in violation of the Clayton
21 Act, 15 U.S.C. §§ 14 and 15, in an illegal effort to lessen competitionl 'l`his unlawful

22 conduct includes, but is not limited to:

23 (i) sending out written communications to Viewtech’s

24 _ distributors/dealers falsely and maliciously accusing Viewtech of alleged acts of

25 wrongdoing in connection with the pirate third-party software/firmware;

26 (ii) actively and maliciously attempting to discourage those

27 distributor/dealers from continuing to do business with Viewtech and also discouraging
28 their customers from doing business with Viewtech;

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(iii) actively and maliciously attempting to improperly foist alleged
“evidence preservation” obligations on innocent third parties whose documents had not
even then been subpoenaed;

(iv) threatening and warning certain distributors/ dealers not to sell free-
to~air satellite equipment, including Viewtech’s receivers, thereby causing and
constituting an illegal group boycott and refusal to deal; and

(v) filing and pursuing the Complaint in this case, which is objectively
baseless in that no reasonable litigant could realistically expect to be successful on the
merits, and this lawsuit was filed and pursued to conceal an attempt to interfere with
Viewtech’s business and to thwart competition in the set-top box business of receiving
satellite broadcasting including free-to-air receivers Viewtech is further informed and
believes and thereon alleges that Counterdefendants made fraudulent misrepresentations
false innuendo and speculative assertions in their allegations without adequate information
and evidentiary support Thus, Counterdefendants are not entitled to Noerr-Pennington
immunity for this case pursuant to the applicable “sham litigation” exception

32. Counterdefendants’ unlawful conduct has directly and proximately injured
Viewtech's business in that its product sales and servicing have significantly fallen,
thereby causing substantial financial loss and damage to Viewtech and Viewtech's injury
was of the type the antitrust laws were intended to prevent

VI.

SECON}) CLAIM F(}R RELIEF
(For Violations of the Sherman Act)

33. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers 1 through 32 of this Counterclaim, as though fully set forth
34. Counterdefendants’ conduct of these anticompetitive actions, as above-

alleged, also violates the Sherman Act, 15 U.S.C. §l, by illegally restraining trade.

35. Funhermore, Viewtech is also informed and believes, and thereon alleges,
that Counterdefendants have unlawfully attempted to monopolize the product market

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1 consisting of the sale and servicing of set~top boxes designed to receive satellite

2 programming transmissions with the specific intent to eliminate Viewtech as a

3 competitor, in violation of the antitrust laws set forth in the Sherrnan Act, 15 U.S.C. §2.
36. rihere exists in the United States two primary providers of subscription

based satellite services to consumers These two providers, Counterdefendants and

Direct'l"V have, for the better part of two decades, created and maintained a highly

aime

concentrated market through a series of mergers and acquisitions
37. The Satcom 1 satellite was built by RCA specifically for use by the primary
9 networks, NBC, CBS, and ABC. The Satcom l began to service cable subscribers and

10 later that year HBO leased a transponder, which required owners of cable systems to
ll spend approximately 310,000 to install 3-ineter dishes to receive TV signals in C~band.
l2 38. By 1991 USSB was founded and partnered with Direct'i`V which by l994
13 became the first Ku band DBS system
14 39. in 1996, Counterdefendant EchoStar incorporated in the State of Nevada.
15 lt’s Chairman and CEO, Charles Ergan, Was also its largest shareholder owning a 49.8%
16 interest through a family trust which translated to a 90.8% voting interestl On or about
17 March l6, 1996 Echostar launched its DlSl~l Network DBS system, which in the
18 subsequent six years grew to approximately 7.5 million subscribers generating revenue in
19 excess of 34 `Billion dollars
20 40. ln the late l990’s two other competitors fell to the market power of
21 Counterdefendants and l)irectTV. AlphaStar, which had launched in 1996 went into
22 bankruptcy in 1997. Primestar which had launched a DBS system in l991, was sold in
23 1999.
24 4l. By 2004 Cablev_ision’s Voom service which catered to the emerging HDTV
25 market folded, and in 2005 its HDTV channels migrated to Counterdefendants. By 2005,
26 Dish’s subscriber base had reached nearly 12 million ln addition, by 2005, Dish and its
27 sole significant competitor, DirectT\/, dominated the 27% of U.S. households that
28 subscribed to satellite services, up from 12% in the year 2000.

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42. On or about October 28, 2001, an Agreement and Plan of l\/lerger was
submitted to allow Dish/Echostar to acquire its sole significant competitor, l)irect TV.
Recognizing the significant danger to competition, this proposed acquisition and merger
was immediately opposed by the United States i)epartment of lustice and the Attorneys
General of twenty»nine states and ultimately thwarted

43. Left with such a highly concentrated market in Satellite TV consisting of
only two major players, even after Ergan’s planned acquisition of Direct TV was
unsuccessful, Viewtech is informed and believes, and thereon alleges, that a concerted
campaign was launched to drive out other smaller providers of satellite services selling set
top boxes to Free ’l`o Air (FTA) consumers While pay-for-view services such as Dish
routinely receive FTA programming largely consisting of foreign language programming
designed to benefit large ethnic immigrant communities in the United States, that
programming requires consumers to use Counterdefendants’ costly access card
technology, even though such programming is actually provided free of charge

44. Free-to-air only set top boxes such as those manufactured by Viewtech are
designed to compete with Couriterdefendants and provide this essential free service to
needy immigrant communities-and other ethnic or special interest groups throughout the
country

45. Through a significant campaign of voluminous and often sham litigation,
Counterdefendants have targeted companies providing such essential FTA services with
hundreds of lawsuits speciously alleging tenuous claims that consumers, not the
manufacturers of these FTA set top boxes, misappropriated proprietary technology

Viewtech alleges upon information and belief that the majority of these sham lawsuits
were resolved not on the merits but by the significant economic disparity between the
FTA community and the only two remaining pay satellite services in this highly
concentrated market lt is alleged upon information and belief that these lawsuits were
initiated solely to drive out of business the small FTA competitors and consumers in order

to increase the ever growing pay-for-view services of Counterdefendants.

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46. In addition, Viewtech is further informed and believes, and thereon alleges,
that Counterdefendants have initiated a series of vertical restrictions contained in their
Dealer Agreernents, prohibiting their Dealer network from selling FTA only set top boxes

47. Through the series of mergers, attempted mergers, vertical restraints, and
vexatious litigation alleged above, a highly concentrated market has developed with only
two primary competitors each holding in excess of 40% of the satellite television market,
which is sufficient in this case to establish market power.

48 Furthermore, by February 17, 2009, the Federal Communications
Cornmission and Congress have mandated that all analog channels be converted to digital
to allow for broader bandwidth. According to the FCC, this will allow for clearer picture
and sound and will offer programming choices such as multicasting and interactivity. in
addition, it will free up analog channels for emergency services such as police and lire.

49. Further according to the FCC, most if not all televisions which do not
currently have digital capabilities will need new equipment ln most cases this new
equipment will need to take the form of set top boxes Even existing satellite subscribers
will need high definition digital programming a service overwhelmingly provided
exclusively by Counterdet"endants. The additional interactivity aspect anticipated by the
change will be significantly dominated by Counterdefendants through their recent
acquisition of Sling Media, which manufactures the “SlingCatcher” allowing horne users
to send web and PC based content to their televisions

50, As further evidence of Counterdet`endants’ attempted monopolization in
advance of the mandatory transit'ion, Dish Chairman and CEO Charles Ergan reported at
a press conference in Las Vegas at the Consurner Electronics Show in 2007 that Dish
would have available the “Echostar TR-Ll{)” in June 2008.

51. The Echostar TR-40 is designed to be purchased with no out of pocket cost
to consumers by taking advantage of the National Telecommunications and information
Administration’s Digital to Analog Converter Box Coupon l’rograrn.

52. Ergan was also quoted as saying that the TR-4G will be the first digital 'l`V

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1 converter that will be effectively free to users and that while Echostar will not directly
2 make money on the device, “its below cost and predatory pricing will increase brand

3 awareness, and hopefully, if users ever decide to get pay TV service they’ll keep us in

mind.”

53. In advance of this federal mandate, it is alleged upon information and belief

that a concerted effort to drive out smaller set top box competitors is essential to allow

~_ic\u\.;>.

Counterdefendants to ultimately monopolize the satellite television market

54. A report issued by the National Cable and Telecommunications Association
9 suggests that a digital monitor capable of displaying a high definition signal which uses
10 either the 1080i or 720p format will be needed in conjunction with a separate set top box.
ll All this must be in place by the l'?ih of Pebruary 2009.
12 55. lt is therefore alleged upon information and belief that Counterdefendants
13 are engaged and continue to engage in anticompetitive conduct with the specific intent to
14 eliminate Viewtech as a competitor in the sales and servicing of set top boxes designed to
l5 receive programming via satellite downlink in the United States.
16 56. Such anticompetitive conduct in this highly concentrated market will likely
17 have the effect of driving Viewtech and others out of business with the ultimate effect of
18 obstructing, restraining and excluding competition Aside from Counterdefendants’
l9 products and services, the loss of Viewtech’s free-to~air receiver boxes will leave the
20 market without readily available substitute products in the relevant geographic and
2l product market as alleged above
22 57. The market power wielded by Counterdefendants is an attempt to increase
23 market share to control price and price related activities to television consumers in the
24 coming age of the digital television mandate
25 58. There exists a dangerous probability that Counterdefendants will succeed in
26 this attempted monopolization by excluding small and often powerless FTA
27 manufacturers and sellers from continuing to service a needed and often~powerless
28 consumer base at low cost.

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59. Counterdefendants’ unlawful conduct has directly and proximately injured
Viewtech's business in that its product sales and servicing have significantly fallen,
thereby causing substantial financial loss and damage to Viewtech and Viewtech's injury
was of the type the antitrust laws were intended to prevent

VII.

TI-IIRD CLAIM FOR RELIEF
(For Violation of the Cartwright Act)

60. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 59 of this Counterclaim, as though fully set forth.

6l. As a further direct and proximate result of Counterdefendants’ wrongful
conduct as above alleged, Counterdefendants have also violated the Cartwright Act,
California’s state equivalent of the federal Sherrnan and Clayton Acts, set forth in
California Business and Professions Code Section l6600, et. seq., thereby entitling
Viewtech to recover its damages, as hereinabove alleged, according to proof at trial

VIII.
FOURTH CLAIM FOR RELIEF

(For Violation of California Business and Professions Cotle Scction 17200)

62. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 6l of this Counterclaim, as though fully set forth.

63. As is above alleged, Counterdefendants have engaged and still engage in
unfair competition as defined in and prevented by California Business and l-"rofessions
Code Section l72()0. The foregoing wrongful conduct, as above alleged, amounts to
either unlawful, unfair or fraudulent business actions or practices

64. As a direct and proximate result, Counterdefendants are therefore liable for
restitution of all out-of-pocl<et consideration received from or owed to Viewtech thereby,
statutory penalties as applicable, and injunctive relief, for if not restrained,
Counterdefendants evidence an intent to continue to perpetrate their unlawful acts and
practices constituting unfair competition in California.

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l IX.

2 FIFTH CLAIM FOR RELIEF

3 (For Violation of California Business and Professions Code Section 17046)

4 65. Viewtecli realleges and incorporates herein by this reference the allegations
5 in paragraph numbers l through 64 of this Counterclairn, as though fully set forth.

6 66. California has enacted the Unfair Trade Practices Act, which makes it

7 unlawful to threaten, intimidate or boycott any person or entity so as to violate the Act, as

3 is proscribed by California Business and Professions Code Section 17046.

9 67. As is above alleged, Counterdefendants have violated California Business
19 and Professions Code Section l7046 thereby entitling Viewtech to recover its damages, as

11 hereinabove alleged, according to proof at trial.

 

l2 X.

l3 SIXTH CLAIM FOR RELIEF

iii (For Trade Libel)

15 68. Viewtech realleges and incorporates herein by this reference the allegations

16 in paragraph numbers l through 67 of this Counterclaiin, as though fully set forth.

17 69. As is above alleged, Viewtech was the owner, seller and distributor of its

13 FTA~receiver products, which were made available for sale through its distributors and
19 dealers to the general public.

29 70. As is above alleged, Counterdefendants Willfully, without justification and
21 without privilege, published and communicated both to Viewtech’s distributors and
22 dealers, and the general public, statements disparaging Viewtech and its free-to~air

23 receiver products, and purporting to implicate Viewtech and its free-to-air receiver

24 products in illegal activities

25 7l. Such statements made by Counterdefendants were false, and were made by

25 Counterdefendants either with knowledge of their falsity, or with reckless disregard for
27 their truth or falsity.
23 72. As a direct and proximate result of Counterdefendants’ publications of such

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statements, prospective dealers, distributors and customers of Viewtech have been
deterred from buying Viewtech’s free~to~»air receiver products, and from otherwise dealing
with Viewtech, thereby proximately causing damage and financial loss to Viewtech as
will be proved at trial.

73. The foregoing conduct of Counterdefendants was willful and amounts to
malice, fraud and/or oppression, and was despicable conduct that subjected Viewtech to a
cruel and unjust hardship and conscious disregard of its rights, such that Viewtech, in
addition to its actual damages, is entitled to recover an award of exemplary and punitive
damages from Counterdefendants, in an amount to be assessed at the time of trial

XI.
SEVENTH CLAIM` FOR RELIEF

(For Tortious Interference with Existing Contractual Relatious)

74. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 74 of this Counterclaim, as though fully set forth.

75. Viewtech had existing contractual relationships with several third~»party
dealers and distributors containing the probability of profitable economic relationships
consisting of continued sales of Viewtech’s free-to-air receiver products

76. Viewtech is informed and believes, and thereon alleges, that
Counterdefendants had actual knowledge of those profitable contractual relationships

77. Viewtech is further informed and believes, and thereon alleges, that
Counterdefendants committed the intentional acts as above-alleged, which were designed
to disrupt those existing contractual relationships

78. Those existing contractual relationships were disrupted, in fact, since

Viewtech’s sales and servicing income from its free-to-air receiver products, has been

reduced and harmed

79. As a direct and proximate result, Viewtech has suffered substantial financial

and economic damage in amounts which will be proved at trial.

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80. The foregoing conduct of Connterdefendants was willful and amounts to
malice, fraud and/or oppression, and was despicable conduct that subjected Viewtech to a
cruel and unjust hardship and conscious disregard of its rights, such that Viewtech, in
addition to its actual damages5 is entitled to recover an award of exemplary and punitive

damages from Counterdefendants, in an amount to be assessed at the time of trial.

XII.
EIGHTH CLAIM FOR RELIEF

(For 'fortious Interference with Prospeetive Economic Advantage)

Sl. Viewtech realleges and incorporates herein by this reference the allegations
in paragraph numbers l through 80 of this Counterclaini, as though fully set forth

82. Viewtech had economic relationships With several third-party dealers and
distributors which contained the probability of profitable economic relationships
consisting of further sales of Viewtech’s free~to~air receiver products

83. Viewtech is informed and believes, and thereon alleges, that
Counterdefendants had actual knowledge of those prospective economic relationships

84. Viewtech is further informed and believes, and thereon alleges, that
Counterdefendants committed intentional acts designed to disrupt those prospective
economic relationships and the actions taken were wrongful by some measure other than
the interference with Viewtech’s interests, since Counterdefendants breached numerous
obligations and violated applicable California and Federal law in many respects as above-
alleged

85. 'l`he foregoing prospective economic relationships were disrupted, in fact,
since Viewtech would have sold further free-to-air receiver products to these third parties

86. As a direct and proximate rcsult, Viewtech has suffered substantial financial
and economic damage in amounts which will be proved at triai.

87. The foregoing conduct of Counterdel`endants was willful and amounts to
malice, fraud and/or oppression, and was despicable conduct that subjected Viewtech to a

cruel and unjust hardship and conscious disregard of its rights, such that Viewtech, in

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addition to its actual damages, is entitled to recover an award of exemplary and punitive
damages from Counterdefendants, in an amount to be assessed at the time of trial.
XIII.

PRAYER FOR RELIEF
WHEREFORE, Viewtech demands a trial by jury and requests that judgment be

entered against Counterdefendants, and each of them, as follows:

l. As to the first claim for relief, for general and special damages according to
proof of trial;

2. As to the second claim for relief, for general and special damages according
to proof of trial;

3. As to the third claim for relicf, for general and special damages according to
proof of trial;

4. As to the fourth claim for relief, for restitution according to proof of trial,

for statutory penalties, as applicable, and for injunctive relief to restrain further acts of

unfair competition;

5, As to the fifth claim for relief, for general and special damages according to

proof of trial;

6. As to the sixth claim for relief, for general and special damages according to

proof of trial;

7. As to the seventh claim for relief, for general and special damages according

to proof of trial;

8. As to the eighth claim for relief, for general and special damages according

to proof of trial;

9. As to the sixth, seventh and eighth claims for relief, for an award of

exemplary and punitive damages;

lO. As to all appropriate claims for relief, for an award of reasonable attorneys’

iees;

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11. As to all appropriate claims for reiiet`, for pre- and post-judgment interest

thereon at the highest available legal rate;
12. l2 or all costs of suit incurred herein; and

13. F or such other and further relief as this Court deems just and proper.

DATED: July 7, 2008 HIGGS, FLETCHER & MACK LLP AND
LAW OFFICBS OF MANUEL DE LA
CERRA

By: s/David R. Clarl<;
DAVll) R. CLARK, ESQ.
One of the Attorneys for Defendants
and Counterclaimant
VIEWTECH, INC

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EXHIBIT “1”

EchoStar Europe - Products http://www.echostareurope.com/products.htm

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PRODUCT |NFORMATION

  
    

EchoStar has been part ofthe development of digital television since the beginning and in
Europe we’ve sold millions of receivers for both Free to Alr markets and to pay television
operators tn addition, our midd|eware is in over 3 million digital lerreslrla| receivers

    
   
 

We have extensive experience tn tailoring a design to the particular hardware and software
needs of any market tn the world Our efficient hardware designs have been created lo minimtse
the overall costs no matter what business you are in. We have thoroughly tested software
mldd|eware stacks for everyone from the high end user to the entry level customer

 
 
    
   
 

ln addition, wave learned a lot along the way about running up|ihl< centres, call oerltresx and
service centres, along with securing bandvvidtti streams writing inleraotive applications and
keeping 12 million subscribers happy You can clroumventthe long learning processes required
to gain this knowledge by having us consult with you on your projects

 
   
   

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EXHIBIT “2”

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DSB-BGS ZCi Conex
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DSB-BSO ZCS
DVR--SGGG HDD

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Analog » l}lgital - Echol\éAV - 2 Ci - Posltioner - Viaooess©
Free~To-Air Digitat Satelllte Receiver

Bigilat Satellite Recelver - EchoNAV - 2 Ci - Positioner
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Digita| Sate|lite Receiver with 2 C| Slots and Positloner
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Vlaccess©

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Free~To~Air Digitai Satellite Recelver

Free-To-Air Digltal Sate!iite Receiver

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Personal Video Recorder - thothe PVR - ZCl v Time~shift - Games - lVlPS
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Custorners)

Digital Terrestrlal Receiver - Ffeev`l“o~\r'iew - Top U;) TV (Only avaliaoie to
UK based customers)

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EXHIBIT “3”

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USER MANUAL

Receiver Description

DSB-1220 FTA
Digital Sate|lite Receiver

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Tighten the F~“~connectors only by hand Do not use any tools Yoo witt damage the
connector pins if you overtighten the connector “l“his wilt result in loss of signal qualityl
oz even total loss of reception

<s'” No're

For receivers that are connected with an UHF cables make sure that the TV is set to
Ul-lF channel 38 (607,25Mhz). |f the channel number on the TV and receiver are not
the same. you will have a distorted or no image at ali.

For more information please refer to the user manual of the TV_

3.1. TO SET 'UP YOUR RECEI`VER FOR THE F`IRST TIME

The setup is described in the Ecno&ar User interface manual that is also part of tne
documentation set.

 

 

Page 2 - 2 l Digita| Sate|lite Receivel's ~ leed

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Receiver description

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Familiarization Section3

THE RECE_IVER

Tiae front panel of the digitai sateiiite receiver gives you tne control over the basic functions
The rear panel gives you various connections to connect the audio and video equipment as
weli as a terresiriai and a dish antenna Ventiietion siots in the housing are provided for
cooling of the internai electronics

The software of the receiver contains the EchoStar user interface with on~screeo heip, which
gives you easy control over the features of the receiver. Tne software contains also a large
database of pre-programmed sateilites and transponders which are used for a quici~<
instaiiation. For detailed informationz please refer to the EchoSiar user manuai that is aiso

part of the documentation set.

FEATURE HieHLieHTs

l EcnoStar Multilingual User interface;

I 14 day EPG;

ll Freeze Picture;

d 7 Timers (inc.l. Sleep Tr“mer);

m 4,400 Digital Cl'iannels, 80 Sateiiites, 1,500 Transoonders;
d Muitip!e Favorite Ciaannei Lists (4 for Tl/j 4 for Radfo);
l Cnannei Sorting;

§ Muttipie Seerch Mocfes; _

l S/PDIF Auo‘io Ouiput (Do:'hy Drgr'tai Gompeficfe);

l DiSEqCTM 1.2, GoTo X;

l Software Lipdaie via lnterneUSateilite (RS*232/OTA).

 

THE RECEH’"E,R FRONT PANEL

 

The front panel has:

d Tho STANDBY indicator to indicate standby

x Tiie ON indicatorto indicate ON.

l The S|GNAL indicator to indicate that you receive a vaiid signal

ll A display to show the status ct the receiver or the W cnanne§ number

 

l Tne keyf to switch the receiver to Standby or C}nk
l i'he arrow up and down keys, to select one channei up or oown.

DSB~‘¥220 FTA - Page 3 - 1

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XHIBIT “4”

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Viewtech, |nc. Return Merchacc£ise Authorization Form
**Viewsat units purchased AFTER May 2007 have a 2 year warranty from the date of purchase**
in order to return defective product for repair or replacementl this form MUST be titled out complete§y and included with your return Any

product returaed without a comp§eted RMA form wi§l be shipped back at the customers expense
PLEASE type or print |egib|y and Comp|ete RinA form

Date sent: F’roduct Seria| # (s)

 

Purchase Date Company purchased From

 

RMA# (Piease Ca|i 760-754-9880 Option 4 for RMA #)

Name:

 

Address (€}o not List P,O.Box):

 

 

City: State: ZlP Code:

 

Urbanization *(for Puerto Rico Residence)*

Phone: Email:

PRooucT; xtremei:l wth Lit@[:i eoooHoE§ Prol] P\/Ri:l aemote conrro¢l:l

***DG NOT SENB additional accessories unless approved by technica§ support***
(lf additional accessories are sent Without approva!, we witt not be held responsible §or loss or damage)
P¥..EASE CH§CK |F ADDl’¥“|ONAL PARTS WERE SENT

 

Rernote ij Diseqc switch l:l RCA Cable [:.] l\lul| modern cable |:i i\/lanoal ft HDD cradle ij
Otherr:i (P|ease Specify)

Probfem: Power l:i Signal |: Video g Audio i:] Down|oad g M|SC i:l

 

Describe

 

*Receipt |ncfuded? YES i:] NO Y:l *Nfooey Order incfuded? ¥£S [] NO 13

|MPORTANT!! >>>>> Terms and Ccnditioos:
Product must have official Viewsat factory firmware only (No 3rd Party firmware)
Ccpy of receipt showing date of psrchase and company purchased from must be included with return
Proper packaging must be used to prevent further damage to usit.

if product is damaged due to user erroz, Warranty §s void

Damage caused by lightning , §re, acts of war, public disturbances incorrect vesti|atios or any other cease beyond the control of the
distributor ere not covered under warranty Water damaged cansot be repaired

Products where label bearing the serial member has been removed detaced, or is it|egébie are not covered under Warranty.

litegai copies, counterfeits or clones of car product Wil£ set be covered under Warranty and product may be seized and used as

evidence in legal action against seller
if Viewtech agrees to repaizr a unit that is not covered under warranty there Wil| be a $50 service cearge.

CuStOmei"S Sigi‘!ature: By signing, customer
agrees to all terms and conditions lf product does not meet warranty requirements customer agrees
to pay $25US to have product shipped back. Additional charge may be added for intl. shipping

Shipping Address:
\/iewtecti, inc #446
4140 Oceartside Blvd. #t 59 Oceanside, CA 92056

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EXHIBIT “5”

Viewsatusa. com ~ Introducin%thc VSZOGO
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Viewsat is tire #1
Free~»To»Air satellite
receiver in the USA.

To order, please
email: the saies

department or cali
us at

1-888-ViEWSAT
760-754-9880

Office Hours

Monciay~Friday
9am~5pzn PST

WAR
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CLICK
HERE!

p'//www. viewsatusa. comf

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Welcorne to the world of FTA. E\/iPE;EG-Z is a worldwide satellite transmission
standard for digital broadcasting Et is the wave of the iuture, because ci tee simple
economics that can allow 8 craven 10 video signals to occupy the same space as one
channel of analog treesrnisslon. dust as some anaiog signals can be scrambled for
subscription use. digital channeis can be transmitted either scrarribied or in-the-clear.
ln~The-Clear is known in the digita§ TV world as FTA or Free-To-Alr. Tiiere are literaliy
hundreds of F-°ree Channels Ava§|abie to North Arnericans for Viewing. National public
broadcasters have adopted li/SPEG-Z as a cost-effective way to distribute their signals
on iimited budgets

Viewsat has been the undisputed #1 selling
FTA Receiver and is again excited to introduce
yet another amazing receiver. Check out the
all new tie °i`.ii?re LlTE! This small but powerful
receiver is a must have for any true FTA
hobbyist.

 

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We at Viewtech |ric. are looking for csaiir':ed dealers for our products if you would
like to become a dealer please go here

Tnarik you and we look forward to doing business with you in the near future

We sell volume on|y.

P|ease see our Dealer section for smaller
qaanddes.

§e§@§§§’i“eri°i° > We do not provide or condone the use of third
party software Using third party software may be illegai and void

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product Warranty. Do not emai| or call asking about DN, DTV, etc.
_. Our sateliite receivers are designed and intended for iOO% legal
use only. VVe Wiii refuse sale to anyone whom We believe intends
to use our product iliega!|y or sell our products for illegal use.
wwww.satcilr`tcguys.corn www,viev»'sritwholcsalccom www_sonicvi`cwsat.com wwvv.tmsssateliite.com www.§yngsai.com www.iiirtntv com

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EXHIBIT “6”

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AUTHORIZEI) DISTRIBUTOR AGREEMENT

TH{S AGREEMENT is between VicWchh with its principal place of business at the
3830 Occanic Drivc - Suitc 409; 0ccansidc, CA 92056 (hcrcinaftcr referred to as
"VIEWTECH"), and [INSERT INFG] (hcrcinaftcr referred to as "DESTRIBUTGR").
VIEWTECH and DISTRIBUTOR are hereinafter referred tojointly as the "Partics“ and
lndividoally as "Pat'ty". Thc effective date of this Agreemcrtt is [INSERT DATE].

l. SC()PE OF APPOINTMENT

a. VIEWTECH appoints the DISTRIBUTOR, on a nonexclusive basis, to
sell and promote the sale of VIEWTECH products set forth on the current
VlEW”fECH price pages listed in Exhibit A (hcrcinaftcr referred to as
"Products") to retail and end uscrs. Thrs appointment is limited to the
Territory specified in section i(c).

b. DISTRIBUTOR recognizes that VlEWTECH may sell Products to any
customcr, including direct sales to dealers or sales to distributors for
resale

c. TERRITORY
i. VIEWTECH agrees to make Product available to DISTRIBUTOR

for resale to retail and other cind»uscrs located in {INSERT
GEOGRAPHICAL AREA] (hereinafter the “Gcographical
Arca”). DISTRIBUTOR agrees riot to Sell, Ship or distribute in
any mannor, Prodticts to any customer located outside of the
Gcographicai Area.

tit DISTRlBUTOR agrees that any rcsalc, shipment or distribution by
DESTRIBUTOR or its agents or employees to any customer
located outside ofthc Gcographical Arca may result in
discontinuance of the sale of thc Product to DISTR`IBUTOR in
addition to other remedies available to VIEWTECH.

2. PARTIES’ OBLIGATI()NS
a. VIEWTECH’S OBLIGATIONS 'I`O DISTRIBUTOR: `V`l`EWTECH

agrees to:
i. Use its best efforts to promptly fill DISTRIBUTOR'S proper orders
for Products.
ll. Makc available thc Scrviccs of a VlEWTECH Salcs representative
to provide Prodact information, merchandising and general sales
Support.

h. DISTRIBUTOR'S OBLIGATIONS TO VIEWTECH: DISTR!BUTOR
agrees to:

i. Vigorousiy and enthusiastically promote the sale of the full line of
Products and Will maintain a Wcll~traincd and Wcll-managcd sales
force capable of and committed to maximizing thc demand for
Products through every proper means DlSTRIB UTOR promises to

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ir'.

iii.

vi.

devote at least the same vigor and resources in promoting Products
as it devotes to other suppliers' product lines.

Not misrepresent either directly or by omission the ca_pabilities,
qualities, or characteristics of the Products. Neither
DISTRIBUTOR nor its representatives vvill disparage the Products
or cast the Production in an unfavorable light

EOPTIONALI Parcha__§_e_g minimum of $50,000.00 afassorted
Proaacts. net of discounts aag_i retarns, during the term aftkis
Agreemeat. Everv sixty (60) davs VIEWTECH and

DISTRIB UTOR agree to review_DISTRIBU_TOR 's performance
in reaching its minimum purchase requirements and other
obligations under this Aereement.

Maintain an adequate inventory of the full line of Products so that
DISTRIBUTOR can promptly fill orders from stock.

Supply promptly ali financial information required by
VIEWTECH's Credit Departrnent to assess DlSTRIBUTOR's
credit worthiness. DISTRlBUTOR will make prompt payment of
all VI`EWTECH invoices in accordance With current payment
terms. DlSTRIB UTOR agrees not to make any deductions of any
kind from VIEWTECH invoices unless DISTRI`BUTOR has
received an official credit memorandum from VIEWTECH
authorizing such deduction

Sell Product under the packaging supplied by VlEWTECH and not
make changes to packaging

3. COUNTERFEIT PRODUCTS
a. DISTRIBUTOR shall not seil, market, advertise, purchase, support or
distribute any product that

i.

ii.
iii.

bears the VIEWTECH .Brand, unless that product vvas purchased
directly from VlEWTECH;

is a copy/counterfeit of a genuine VIEWTECH l’roduct; or
might be mistaken for a genuine VIEWTECH Product.

b. DiSTRIBUTOR agrees to promptly report to VIEWTECH ail information
it has regarding any product that is a copy/counterfeit of a genuine
VXEW'I`ECH Product or might be mistaken for a genuine VIEWTECH
Prodnct.

c. D[STRIBUTOR agrees to assist VIEWTECH, at VIEWTECH’:; expense,
in the prosecution of the person(s) responsible for the selling, marketing,
advertising and/or supporting of any product that is a copy/counterfeit of a
genuine ViEWTECH Product or might be mistaken for a genuine
VI`EWTECH Product.

4. INVENTORY CONTROL
a. VIEWTECl-l shali

i.

provide unique serial numbers on each of its Products; and

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iii cross-reference those seriais numbers to the DISTRiBUTOR’s
purchase order; and
iii. maintain a database storing the cross-referenced serial numbers to
the DiSTRlBUTOR’s purchase order.
b. DiSTRlBUTOR shall
i. cross~reference the unique serial number to any purchase order
received from a retail, end*user or other customer, provide the
purchase order is for more than 25 units of Product;
ii. maintain a database storing the cross~referenced serial numbers to
the retail, end~user or other customer’s purchase orders; and
iii. make available to ViEWTECH the database upon fifteen (15) days
written notice.

5. MODIFICATI()N OF PRODUC'I`

a. DISTRIBUTOR shall not modify or assist others to modify the Products
with third party software, or sell Products modified with third party
software This software may be illegal under, inter alia, the Digital
Millenniurn Copyright Act of l998 (17 USC Sec. 1201). VIEWTECH
does not sanction the use of third party software and its use by
DiSTRlBUTOR will void any applicable Product warranty, and may be
cause for immediate cancellation by V.IEWTECH of this Agreement.

b. DISTRIBUTOR agrees to indemnify and hold harmless VIEWTECH_, its
officers, directors, shareholders, employees, agents, assigns, and affiliates7
from any and all claims, actions, suits, and demands (including all
associated costs), brought against VlEWTECH in connection with any
improper use of products purchased by DISTRiBUTOR from
V.IEWTECH. This indemnification includes, but is not limited to,
products purchased by DISTRIBUTOR and resold to other distributors,
retailers and end users.

c. DISTRIBUTOR agrees to place the following disclaimer prominently on
any of its websites advertising VIEWTECH `Products and, to the extent
possible, on all its other publications advertising VIEWTECH Products:

WARNING: Tbe Products sold by DISTRlBUTOR are intended
for legitimate use only. DISTRIBUTOR’s free~to~air Products are
factory loaded by VIEWTECH iNC. with software that legally
allows you to receive only unencrypted free-to-air channels
Neither DISTRIBUTOR nor VIEWTECH iNC. loads its Products,
nor supports or condones the loading of its Products, with any
third-party software that modifies the Products to receive
encrypted channels lt is a cirimele illegally access encrypted
satellite signals By placing an order with DlSTRlBUTOR, the
purchaser agrees that the Products ordered will only be used
lawfully The purchaser also agrees to indemnify and hold
harmless DISTRIBUTOR, its officers directors, shareholders,
employees agents, and affiliates, from all claims, actions, suits,
and demands (including all associated costs), brought against

Authorized Distributor Agreement 3
Contidential m Do Not Disclose

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DISTR]BUTOR for the improper use of VIEWTECH Products
purchased from _DISTRI_BUTOR. DiSTRIBUTOR and
VIEWTECH lNC. will only support Products containing their
original factory loaded software Any modllication, including
loading of the third party software, will void the Product’S
warranty. DlSTRlBUTOR will refuse sale to anyone whom it
believes intends to rise its products illegally or sell its products for
illegal use.

6. PRICES AND TERMS AND CONDITIONS OF SALE

21.

PRICES. Tlie price of Products and other terms and conditions of sale
(including payment terms, F.().B. point, minimum order requirements) are
as stated in Exliibit A.

PRICE CHANGES. Prices may be increased and other terms and
conditions of sale may be changed by VIEWTEC`H at any time with thirty
(3(}) days prior written notice to DISTRlBUTOR, but the change will not
affect any order properly placed with VIEWTECH and ready for
immediate shipment before the effective date of the change

'I`AXES. Prices listed on VlEWT'ECH's price pages do not include saies,
use, excise, or similar taxes. Tlie amount of any present, retroactive or
future sales, use, excise or similar tax applicable to .DlSTRIBUTOR's
purchase of Products shall be added to the VlEWTECH invoice and paid
by DISTRIBUTOR unless DISTRIBUTOR provides ViEWTECH with
tax exemption certificates acceptable to the appropriate taxing authorities
PURCHASE ORDERS. Products may be ordered pursuant to purchase
orders submitted to VIEWTECH by DISTRIBUTOR. Acceptance of any
purchase orders placed by DISTRIBUTOR, either by written
acknowledgement or by shipment of Products, shall NO'l" constitute
acceptance by Vl`EWTECH of any of the terms and conditions of such
purchase orders except as to identification and quantity of the Products
involved All such purchase orders shall be governed by the provisions of

this Agrecment.

7. INTELLECTUAL PROPERTY AND CONFIDENTIAL/ PROPRIETARY

&.

b.

INFORMATION:

D.ISTRlBUTOR agrees that VlEW’l"ECH own the following valid
trademarks: "ViewTech," "ViewSat" and “ViewSat Lite.”
DISTRI.BUTOR shall not rise VIEWTECH’s trademarks without the prior,
express written consent of VIEWTECH. Under no circumstances shall
DISTRIBUTOR, at any time, use VlEWTECH’s trademarks or other
proprietary information as part of D.I.STR_lBUTOR'S corporate or trade
name. `Upon termination of this Agreement, DISTRIBUTOR shall remove
all references to VlEW”i"ECH {or VlEWTECH’s intellectual property,
including trademarks) from its letterheads, advertising literature and
places of business, and shall not thereafter use any similar or deceptive

Authorized Distributor Agreernent 4

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name or trademark intending to give the impression that there is any
relationship between the Parties.

All information transferred or otherwise revealed to DISTRIBUTOR by
VIEWTECH under this Agreement, including but not limited to,
engineering information, manufacturing information, technology, know-
how, marketing pians, promotional programs, pricing information,
customer lists, distributor lists and any other VIEWTECH
confidential/proprietary information will at all times remain VIEWTECH’$
property .DlSTRlB UTOR shall at all times hold such information
confidential and shall not disclose any such information if not otherwise
within the public domain Upon any termination of this Agreement, or as
VlEWTECH directs from time to time, DISTREBUTOR shall promptly
return all such information to VlEWTECH, together with any copies or
reproductions thereof .DlSTRlBUT()R.'S obligations under this section
shall survive any termination of the Agreement.

WARRANTY AND FORCE MAJEURE

VlEWTECl-l warrants that all Products delivered hereunder shall be of
VIEWTECH’s standard quality VIEWTECH MAKES NO OTHER
WARRANTIES, EXPRESS OR lMPLIl;`D: THERE ARE NO ll\/lPLIEl)
WARRANTIES INCLUDlNG WARRANTY OF MERCHANTABILITY
OR FITNESS FOR A PARTICULAR PURPOSE.

VlEWT_ECl-l shall not be liable for damages resulting from delays in
shipment or inability to ship due to normal production and shipment
delays or those resulting from acts of God, fires, floods, wars, sabotage,
accidents, labor disputes or shortages, plant shutdown or equipment
failure, voluntary or involuntary compliances with any law, order, rule or
regulation of governmental agency or authority; or inability to obtain
material (including power and fuel), equipment or transportation, or
arising from any other contingency, circumstances or event beyond the
control of the V`IEWTECH.

TERl\/_I OF AGREEMENT: l T his A£reement shall remain in effect for
mmencim: on the date first written above and expiring two reors

therefrom. [OPTIONAL, DEPE_NDING ON SECTION S(a) belowl

l(}.

EVENTS OF TERMINATION
fThis Agreemenl shgli remain in effect for the period commencing on
the date first written above ¢_md expiring Deceml)er 31 of the sgme veor.
This A£reement shall gutomaticoliv be egended for odditionol,
consecutive terms ofone vear.] IOPTIONAL, DEPENDING ON
SECTION 7ABO VE[ This Agreement may be terminated as follows:

i. _By DlSTRlBUl`OR or VlEWTECH for any reason upon one-

hundred and eighty (180) days prior written notice;
ii. by mutual consent in writing at any time; or

Authorized Distributor Agreement 5
Confidential - Do l\lot Disclose

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iii. by either Party immediately upon the giving of notice that the other
party is in breach of any of its material obligations under this
Agreernent.

b. All orders from DISTRIBUTOR not shipped on the date that notice of

termination of this Agreement is delivered or on the date that this
Agreement otherwise terminates may be deemed canceled at VIEWTECH’
discretion Upon termination of this Agreernent, DISTRIBUTOR shall
cease all conduct, which might cause anyone to believe that
DI`STRIBUTOR is a distributor of Products or otherwise connected with
VlEWTECH

DISTRIBUTOR acknowledges and agrees that VIEWTECH shall be
under no obligation to renew or extend this agreement

 

II. GENERAL TERMS:
a. NOTICES: Ali notices and other communications required or permitted
hereunder shall be in writing and shall be sent to the following:
To VIEWTECH: To BISTRIBUTOR:
Rob Rhine [INSERT INFO]
President

 

View'l`ecli, lnc,
3830 Oceanic Drive - Suite 409
Oceanside, CA 92()56

 

 

 

b. RELATIONSHIP OF THE PARTIES. The relationship established

between VI_EWTECH and DISTRIBUTOR by this Agreement is that of a
vendor to its vendee DISTRI_BUTOR is not an agent of VIEWTECH and
has no authority to bind VIEWTECH, transact any business in
VIEWTECH'$ name or on its behalf in any manner, or make any promises
or representations on behalf of VllEWTECH. DISTRlBUTOR agrees to
represent itself only as an independent business who is an "authorized
VlEW'i`l§CI-i DISTRIBU’FOR." lhe employees and agents of
DISTRIBUTOR are NOT for any purpose the employee or agents of
VIEWTECH.

NO ASSIGNMENT. DlS"i`RlB UTOR Shall not assign its rights or
delegate its duties under this Agreement without VlEWTECH’s prior
written notice

N 0 WAIVER. Any failure or delay by either Party in exercising any right
or remedy in one or many instances will not prohibit a Party from
exercising it at a later time or from exercising any other right or remedy.

ENTIRE AG.REEMENT. This Agreement and the `Exhibits referred to in
this Agreernent, which Exhibits are incorporated herein and made a party
hereof by this reference, supersede and terminate any and all prior

Authorized Distril)utor Agreernent 6
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ll\l WITNESS
above written.

agreements, if any, whether written or oral, between the Parties with
respect to the subject matter contained herein l§ach Party agrees that it has
not relied on any representation, warranty, or provision not explicitly
stated in this Agreement and that no oral statement has been made to
either Party that in any way tends to waive any of the terms or conditions
of this Agreement. This Agreernent constitutes the final written expression
of all terms of the Agreement, and it is a complete and exclusive statement
ot` those terms l\lo part of this Agreernent may be waived, modified, or
supplemented in any manner whatsoever (including a course ot` dealing or
of performance or usage of trade) except by a written instrument signed by
duly authorized officers of the l’artiesi

NON-COl\/IPETE. DISTRIBUTOR agrees to not sell merchandise
similar to the Products listed on Exhibit A t"or a period of 5 years after the
dissolution of this Agreement,

INDEMNIFICA’I`ION. DlSTR{BUTOR agrees to indemnify and hold
the VIEWTECH harmless from any claims and expenses whatsoever
(including attorney’s fees) arising from the breach by DIST`RIBUTOR cf
any of the terms of this Agreement, or any other contracts or agreements
entered into by DISTRIBUTOR.

CONFIDENTIALITY OF THIS AGREEMENT: This Agreement, the
exhibits hereto, and the terms contained therein are confidential and shall

not be disclosed by either party.

GOVERNING LAW AND VENUE. The effect and interpretation of this
Agreement shall be governed by the laws of the State of Calit`ornia. The
Parties agree that any legal proceedings involving this Agreement shali be
commenced in San Diego, County, California. The Parties agree to be
subject to the jurisdiction of the courts (either state or federal) of San
Diego, County, California for purposes of any legal proceedings

ATTORNEY'S FEES AND COSTS IN ACTION ON AGREEMENT.
'l`he prevailing party in any action or proceeding to enforce any provision
of this agreement will be awarded reasonable attorney's fees and costs
incurred in that action or proceeding or in efforts to negotiate the matter.

WHEREOF, the Parties have executed this Agreement as of the date first

 

VIEWTECH:

 

DISTRIBUTOR

 

 

 

Authorized Distributor Agreernent 7

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Rob Rhine [INSER'I` INFO]
President

ViewTech, lnc.

3830 Oceanic Drive ~ Suite 409
Oceanside, CA 92056

 

 

 

 

Authorized Distributor Agreernent 8
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EXHIBIT “7”

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Case 3

 

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Case 3

 

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Case 3

 

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EXHIBIT “8”

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'I`. WADB WELCH & ASSOCIATES

ATI'GRN?E.YS A’l_" LAW
SEVENTH fiLOOR

2401 FDUNTAIW EW. SUITE 700
¥¢*T€}USTGN, TF.'§CAS 7?[§"1'?

l?l?)) 952-4534
FAX iiile 952»4994

wimmrwwlaw.com

RICHARD R. OLbil.iN
July 23, 2007

VIA CERTIFIED U.S. MAIL

 

Soatl'i Coast FTA

ai’io'a southeoastlta.conr
4364 Bonita Road, Suite i96
Bonita, CA 91902

Re: Eefzo$rnr Sn¢ell'i"re I..L. C. et at v. Vr'ewrer:h, fan et nl., filed in the limited States
TJistriet Ceurt for the Southern Distriet ot` Ca_iit"ornia.

Dear Sirs:

Please be advised that EclioStar Satei§ite L. L. C., Eeletar Teclmologies Corperation, and
Nag;ia$tar L L. C (colieetively “Pial_ntiffs”) have filed suit against Viewteeh, Inc Jung K.w ak, and
several unidentified parties (eoliectively “Defendaiits”) in the United States Distriet Conrt for the
Sotttnern Distnet ofcal1lforn1a Tne lawsuit alleges that l)el“endants directly, or enough others acting
in coneert, violated federal ana state law by offenng providing3 or otherwise engaging in the traffic
of devices and technology that are primarily designed to facilitate the unauthorized reception of

Plaintift`s enerypted sateiiite signais

Tltis letter is to noti§r you that Piaintit’t`s have reason to believe that critical erieenee in tins
matter, including but not limited to documents electronicaliy stored infomation, and tangible
things may be 1ntl1e possession custody, or control of$ontii Coast FTA a/l</aj sonthcoastfta. corn
(“Sonth Coast‘”) Theret`ore_, Piaintift`s hereby give notice and demand that such evidence be
immediately preserved and retained by South Coast Uniess otherwise instructed ali informed on
identified in this letter should be preserved from the period January 2094 through the present date

PRESERVATION OBLIGATIONS

All documents, eieetron:ieaiiy stored infonnation, earlier tangible things pertaining to the
d.esign,de\elopment manufacture assembly,medi§iearinn enlimtation,ordistributionot`“Viewsat”
branded equipment and/or software are an important and ineplaecal:le source of discovery and
evidence in the aforementioned litigation Therefore, Soi.itli Coast must preserve any such
ti.ocz.lrrienrs1 electronic infonnation, or tangible things stored in computer systems removabie
electronic media, ottlees, warehouses, or any other location within the possession eustody, or

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T. WADE WELCH dc AS$GCIATES

control of Soutn Cosst. Li`kewise, you must take et`.drmat.ive steps to ensure that such evidence is
safeguarded and preserved untii the resolution ofthis legal matter Aceordingiy,$outh Coast slioe§d
implement preservation riieasz.iresh including out nor limited to the following

' Discominl.to all documenl and data destiuetion (inoluding backup tape polioios);

' Preserve and not dispose of relevant hardware unless en exact replies of the tile (a
mirror im.ege) is made;

» Preserve and not destroy passwords, deeryption procedures (and accompanying

software), network access codes ?’D names_. manuais, tuton`ai s1 written instructions,

decompression, or construction software;

' Maintain all pertinent information and tools needed to access, review, and reconstruct
necessary assess to all relevant documents electronically stored infonnation, and
tangibie tliings; and

* Prevent anyone with access to your dociunents, data systems, or archives from
11'11od1'1fyiug_1 destr<:);~ringd or otherwise corrupting such evidence `

DESCRIPTION OF EVI.BENCE ’I`HAT SH{}ULD BE PRESERV.ED

I, Documents

South Coast is obligated to preserve and retain eli documents pertaining to the design,
development manufacture assembly, modification, solicitation or distribution of “Viewsat”
branded equipment and/or any soi;tware technology designed or developed for dowuload on such
devices For the purpose ot`diis letter, the tenn “doouoient” sh ali include but is not limited to, the
original (or copy if original is unsvailable) of any printed, typewritten handwritten tangible
}_:»l‘loiocopiedz or otherwise reproduced item relating to the information requested herein

South Coast should preserve without limitaticn, any ofthe foilowing documents that relate
to the described allegations against Defendants:

- printed e»~ma,§ls or other printed electronic commurliontions;

~ ‘ letters,.~ memoranda messeges, handwritten notes,;

¢ computer diskettes, CDS;

' agreements contractsi stock certificates promissoryt uotes;

- appraisals and valuation estimates of any kind;

- financial data books of account accounting ledgers, journals;

' tax returns and records;

* financial statemenis_, cash dow reoords, financial projections;

- operating statements balance sheets, accounts payable and receivable;
» bank records, checks (i,ncluding canceled clieoits);

- invoiced sales receipts charge receipts, expense records personal receipts;
* dierios, eelondo,rs, logs_;

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T, WADE WELCI-I 6a ASSOCL°II‘ES

- court filings (ineludittg any transcripts of interviews or testimony gives before any
person, oftise:‘, or tribonsi and any written somm aries; relitigateg or statements thereto :l);

~ notes of conversations meetings investigations opinio;es, interviews meier
testimony `

' books, pamphlets, brochures, oetelogs, price lists;

' cin_arts, grspiis, diagrams_., maps;

t telephone reooz'c¥_s, telefax or facsimile copies;

- computer pri:ntouts, data card programs or other input or output of data processing
systems;,

* photographs (positive print or eegati.ve), film, microfilm or microfielie;

' codebooks, keys date dictionaries

II. §lectronically Stored Informa.tion

Soutl;i Coast is obligated to preserve all electronically stored information in digital settlor
analog forman regardless of whether hard copies of the information existl For the purpose of this
letter5 the phrase “eleetrenically stored infonnatien” shall include sll: (l) active data (_i.e., date
insists/dieter end easily aecessibfe ore South Coest’s systems todey), (2) oteltived data {i.e., data
residing on backup tapes or other storage medje), (3) deleted data (i.e., data that has been deleted
from a computer hard drive but is recoverable through computer f`orelt Sio teci.‘miques), ami (4} legacy
data (i.o., data created on old or obsolete hardware or soitwate) diet pertains to the design,
development, manufacture assemhlv, modificatioo, solicittation_, or distribution of “Viewsst”
branded equipment and/or any software technology designed or developed for download on such

devices

 

South Coast must retain and preserve all electronically Stoted information that pertains to the
described allegations against Det`enda:ots, including but not limited to:

‘ 1\st¢'drd-;:)1'¢;)cessiitg files or documents (irto¥odiug drafts and revisioi_ts);

' spreadsiieets (ine§uding drafts and revisions);

- datalms»os;

‘ software or programs (ioelt_iding atty “bstols” and “i:in” files);

~ e-m sits or other electronic communications (including any internal or external
communications or attachments whether sent or received);

~ Internet and web-browses files ( including preference cache and “eool<ies” tiles);

* data documenting computer usage by Soutlt Coast;

- Compoter-Aided Desigii (CAD) files {izieludiog drafts end revisioos);

* presentation date or slide shows produced by presentation software (i.e., Microsott
PowerPoint) ;

* grap`lls, charts, and other data produced by project ir.ie_iteg,emmlt emilwel'c (o.g‘,
Mierosoit Projeet};

' animst.ioo.s, lmagos_, smd.io, video end audiovisual recordinge, end voice mail Hles;

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' data generated by celendaring, task management end Personai information
management (PIN[} software (e.g., Microsoi"l Outloolc, Lotus Notes); and
~ data created With the use of a personal data assistant (PDA) (e.g_, PalmPilot.,
Blaekberry}.

IIL ’I`angible Tfiin gs

South Coast ts obligated to preserve and retain all tangible things pertaining to the design,
davelopmemtj manufacture assembly modification, solicitation or distribution of “Viswsat”
branded equipment studios say software technology designed or clevetoped for downloact on such
devices Fer the purpose oftliis letter, the phrase “tangil)le things” includes5 but is not limited to,
all goods wates, merchandise and products relating to the iotamtation requested hereto

Stmth Coast should pi“esewo, Without limitation, any of the following tangible things that
pertain to the described allegations against Defendarits:

- computer sewers, personal computers l_apteps, hard drives PDAs, and other
electronic processing devices;

' magnetie, optical or other storage and backup media (including backup tapes, tloppy
disks, CI)-ROMs)_;

v “Viewsat" branded eq_uipment, receivers ami/or components that have been
domloeded, flashed, or otherwise modified to receive enorypted satellite television
signals

South Coast’s compliance with the obligations to preserve potential evidence is critical to
the litigation against Deii`endants. Therefote, Soutli Coast should retain and implement all reasonable
rzieasures te preserve any documents, electronically stored information, ned/or tangible things that
may pertain to the desigx't, development, manufacture, assertzl:ily1 modification, solicitation or
distribution of“VieWsat” branded equipment amd/or any software technology designed or developed
for domiload on Suc]i devices South Coast should also forward a copy of this letter to all persons
or entities that are responsible for the csra r‘.tzstndy1 or control of`l;l'ze information referenced above

'l`tiantt you for your cooperation

Sineerely,

    

R.iok Olsoi.i

